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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

 FREEPORT APARTMENTS LTD                     §
 a/k/a, FREEPORT MEADOW                      §
 APARTMENTS,                                 §
                                             §
        Plaintiff,                           §
                                             §         CAUSE NO. 3:22-cv-00196
 v.                                          §
                                             §
 AMERICAN EMPIRE SURPLUS                     §
 LINES INSURANCE COMPANY,                    §
 CARSON B. LESTER,                           §
                                             §
        Defendants.

 DEFENDANT AMERICAN EMPIRE SURPLUS LINES INSURANCE COMPANY’S
                MOTION FOR PARTIAL DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant American Empire

Surplus Lines Insurance Company (“American Empire”) files this Motion for Partial

Dismissal of Plaintiff Freeport Apartments LTD a/k/a Freeport Meadow Apartments’

causes of action for violations of the Texas Insurance Code and violations of the Texas

Deceptive Trade Practices Act (“DTPA”). American Empire further moves to dismiss all

causes of action against Defendant Carson B. Lester. In support thereof, American Empire

respectfully shows the Court as follows:

                                  I. INTRODUCTION

       Plaintiff alleges the following causes of action against American Empire: breach of

contract, violations of the Texas Insurance Code for unfair settlement practices, violations


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of the Texas Insurance Code for failure to promptly pay a claim, violations of the DTPA,

and breach of the duty of good faith and fair dealing.

       Plaintiff’s causes of action against American Empire for alleged violations of the

DTPA and violations of Chapter 541 of the Texas Insurance Code premised on

misrepresentation are deficiently pleaded. Plaintiff's allegations do not meet the heightened

pleading requirements of Rule 9(b) of the Federal Rules of Civil Procedure, and in many

cases, also fail to meet Rule 8(a)’s pleading standard. Accordingly, American Empire

moves the Court to dismiss these causes of action pursuant to Federal Rule of Civil

Procedure 12(b)(6).

       Further, and despite Plaintiff’s allegations to the contrary, American Empire elected

to accept whatever liability Defendant Lester might have to Plaintiff for Defendant Lester’s

acts or omissions related to the underlying insurance claim pursuant to Tex. Ins. Code

Section 542A.006. Accordingly, no causes of action exist against Defendant Lester and the

Court must dismiss Defendant Lester from this lawsuit with prejudice.

                             II. FACTUAL BACKGROUND

       This lawsuit arises from Plaintiff’s claim for property damages arising from a

February 18, 2021 winter freeze event. American Empire provided property insurance

coverage to Plaintiff during the relevant period. Upon notice of the loss, American Empire

adjusted the claim and paid for Plaintiff’s losses pursuant to the Policy. Plaintiff disagreed

with the amount paid under the Policy and served American Empire with its statutorily


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mandated 542A demand letter on December 8, 2021. American Empire responded to

Plaintiff’s 542A demand letter on February 4, 2022, electing to accept responsibility for

acts or omissions by its agents, including Defendant Lester, pursuant to Tex. Ins. Code

Section 542A.006(a).1 Plaintiff then filed the instant lawsuit wherein Plaintiff alleges

American Empire improperly handled and adjusted its claim. On July 1, 2022, Plaintiff

filed its First Amended Complaint.2

        Plaintiff seeks damages for violations of the Texas Insurance Code based on

purported misrepresentations by American Empire along with alleged violations of various

provisions of the DTPA. In support of its claims for misrepresentations, Plaintiff relies on

one email sent by Defendant Lester to Plaintiff’s public insurance adjuster:

     After Plaintiff filed the claim, it retained a public adjuster to represent it on the
      claim. On March 11, 2021, AMERICAN EMPRIE, by written correspondence from
      Mr. Lester instructed Plaintiff not to mitigate the damages or to conduct any “demo
      that matches the “Remove” items in the [public adjuster’s] estimate.” AMERICAN
      EMPIRE by written correspondence from Mr. Lester, instead suggested another
      third-party mitigation company handled [sic] mitigation; a request Mr. LESTER nor
      AMERICAN EMPRIE ever followed up on.3
     Defendant AMERICAN EMPIRE failed to fairly evaluate and adjust Plaintiff’s
      claim as they are obligated to do under the Policy and Texas law. By failing to
      properly investigate the claim, wrongfully underpaying full coverage to Plaintiff, in
      instructing Plaintiff not to do things that were required to do for coverage (i.e.




1
    See Declaration of Michael C. Upshaw, attached as Exhibit B; American Empire’s Response to Plaintiff’s 542A
    Notice at p. 7, attached as Exhibit B-1.
2
    Plaintiff’s First Amended Complaint [Dkt. 8].
3
    Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.7.


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         mitigate its damages), AMERICAN EMPRIE engaged in unfair settlement practices
         by misrepresenting material facts to Plaintiff.4
        Prior to that $36,927.08 ACV payment form AMERICAN EMPIRE through Mr.
         LESTER, Mr. LESTER, by written correspondence, instructed Plaintiff not to
         mitigate the damages or to conduct any “demo that matches the “Remove” items in
         [the public adjuster’s] estimate. Mr. LESTER suggested some other mitigation
         company instead should do mitigation but then never followed up on that.5
        Defendant AMERICAN EMPIRE misrepresented to Plaintiff that the damage to the
         Property was not covered under the Policy, even though the damage was caused by
         a covered peril. Specifically, AMERICAN EMPIRE, through Mr. LESTER,
         instructed Plaintiff not to mitigate its damages, then attempted to use a “failure to
         mitigate damages” as a defense for proper payment under the claim by Defendant.
         Plaintiff relied upon Defendants’ misrepresentations to their detriment and suffered
         damages, e.g., a negative coverage decision on this claim. Defendants’ conduct
         constitutes a violation of the Unfair Settlement Practices specified in Tex. Ins. Code
         § 541.060(a)(1), which prohibit [sic] misrepresenting to a claimant a material fact
         or policy provision relating to coverage at issue. Here, as stated above, Defendants’
         misrepresentation was that Plaintiff was not to conduct a required action under the
         policy, i.e. mitigate its damages, thereby avoiding coverage under the claim under
         a “failure to mitigate damages” defense.6
        Defendant AMERICAN EMPIRE refused to fully compensate Plaintiff under the
         terms of the Policy, even though Defendant failed to conduct a reasonable
         investigation. Specifically, Defendant AMERICAN EMPIRE performed a
         results/outcome-oriented investigation of Plaintiff’s claim, which resulted in a
         biased, unfair and inequitable evaluation of Plaintiff’s losses to the Property.
         AMERICAN EMPIRE, through Mr. Lester, instructed Plaintiff not to mitigate its
         damages, then attempted to use a “failure to mitigate damages” as a defense for
         proper payment under the claim by Defendant. Defendant’s conduct constates a
         violation of the Unfair Settlement Practices specified in Tex. Ins. Code §
         541.060(a)(7).7
        Defendant AMERICAN EMPIRE misrepresented the insurance policy sold to
         Plaintiff (which relied [sic] Defendants’ misrepresentations to their detriment and
         suffered damages) by (1) making an untrue statement of material fact regarding

4
    Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.9.
5
    Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.10.
6
    Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.12.
7
    Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.16.


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       coverage, specifically by instructing Plaintiff not to mitigate its damages, then
       attempted to use a “failure to mitigate damages” as a defense for proper payment
       under the claim by Defendant; (2) failing to state a material fact necessary to make
       other statements made not misleading, considering the circumstances under which
       the statements were made, specially [sic] that Plaintiff would need to mitigate its
       damages under the policy for coverage but instead choosing to instruct Plaintiff not
       to do any tear-out or conduct mitigation of damages; (3) making a statement in a
       manner what would mislead a reasonably prudent person to a false conclusion of a
       material fact regarding coverage, specifically by instructing Plaintiff not to mitigate
       its damages, then attempting to use “failure to mitigate damages” as a defense for
       proper payment under the claim by Defendant; and/or (5) [sic] failing to disclose a
       matter required by law to be disclosed (see above regarding instructing Plaintiff not
       to conduct tear-out or mitigate damages) including failing to make a disclosure in
       accordance with another provision of the Texas Insurance Code, in violation of
       Section 541.061 of the same.8
      As an insurer, Defendant AMERICAN EMPIRE owes statutory duties to Plaintiff
       as its insured. Specifically, the Texas Insurance Code prohibits Defendant American
       Empire from engaging in any unfair or deceptive act or practice in the business of
       insurance. The specific misrepresentations Defendant engaged in and how those
       misrepresentation were in violation of the specific relevant code section are covered
       at length above in Sections V and incorporated by reference; specifically,
       paragraphs 5.7, 5.12, and 5.17.9
      Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the
       coverage at issue, specifically by instructing Plaintiff not to conduct “tear-out” to
       mitigate its damages (as required for coverage under the policy), then attempting to
       use a “failure to mitigate damages” as a defense for proper payment under the claim
       by Defendant;10
      Misrepresenting the insurance policy sold to Plaintiff by (1) making an untrue
       statement of material fact regarding coverage, specifically by instructing Plaintiff
       not to mitigate its damages, then attempted [sic] to use a “failure to mitigate
       damages” as a defense for proper payment under the claim by Defendant; (2) failing
       to state a material fact necessary to make other statements made not misleading,
       considering the circumstances under which the statements were made, specially
       [sic] that Plaintiff would need to mitigate its damages under the policy for coverage

8
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.17.
9
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.4(a).
10
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.4(b)(i).


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       but instead choosing to instruct Plaintiff not to do any tear-out or conduct mitigation
       of damages; (3) making a statement in a manner that would mislead a reasonably
       prudent person to a false conclusion of a material fact regarding coverage,
       specifically by instructing plaintiff not to mitigate its damages then attempting to
       use a failure to mitigate damages” as a defense for proper payment under the claim
       by Defendant; and/or (5) [sic] failing to disclose a matter required by law to be
       disclosed (see above regarding instructing Plaintiff not to conduct tear-out or
       mitigate damages) including failing to make a disclosure in accordance with another
       provision of the Texas Insurance Code, in violation of Sections 541.061 of the same.
       Plaintiff relied [sic] Defendants’ misrepresentations to their determent and suffered
       damage, e.g., a negative coverage decision on this claim;11
      By its acts, omission, failures, and conduct that are described in this Complaint,
       Defendant AMERICAN EMPIRE has committed false, misleading, or deceptive
       acts or practices in violation of §17.46(b)(2), (3), (5), (7), (11), (12), (13), (20) and
       (24) of DTPA. The specific misrepresentations Defendant engaged in are covered
       at length above in Sections V and incorporated by reference; specifically,
       paragraphs 5.7, 5.12, and 5.17. In this respect, Defendant’s violations include
       without limitation:12
      Unreasonable delays in the investigation, adjustment and resolution of Plaintiff’s
       claim, during which Defendant employed a series of alleged “independent
       adjusters” under the control of Defendant, including Defendant LESTER who
       instructed Plaintiff not to conduct “tear-out” to mitigate its damages (as required for
       coverage under the policy). These action [sic] caused confusion to Plaintiff as to
       whom was representing whom and had whose best interests in mind, especially
       since Defendant AMERICAN EMPIRE subsequently then attempted to use a
       “failure to mitigate damages” as defense for proper payment under the claim by
       Defendant. This gives Plaintiff the right to recover under Section 17.46(b)(2) and
       (3) of the DTPA;13
      Defendant knowingly made false or misleading statements of fact, specifically by
       instructing Plaintiff not to conduct “tear-out” to mitigate its damages (as required
       for coverage under the policy), then attempting to use a “failure to mitigate
       damages” as a defense for proper payment under the claim by Defendant, which
       gives Plaintiff the right to recover under Section 17.46(b)(13) of the DTPA;14

11
        Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.4(b)(v).
12
        Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.5(b).
13
        Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.5(b)(i).
14
        Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.5(b)(v).


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      All of the above-described acts, omissions, and failures of Defendant are a
       producing cause of Plaintiff’s damages that are described in this Complaint. All of
       the above-described acts, omissions, and failures of Defendant were done
       knowingly and intentionally, as those terms are used and defined the Texas
       Deceptive Trade Practices Act.15

         However, the March 11, 2021 email from Defendant Lester to Plaintiff’s public

adjuster, Sharon Black, which is attached as Exhibit A-1, in no way instructs Plaintiff not

to mitigate its damages. To the contrary, Defendant Lester recommends to Black that

Plaintiff, “retain[] a third party, disinterested mitigation company to proceed with the

drying of the structure.”16

                               III. ARGUMENTS AND AUTHORITIES

         To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint must

contain sufficient factual allegations which, if accepted as true, “state[s] a claim to relief

that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). A

claim is plausible “when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009). A plaintiff “must plead more than labels and

conclusions,” and “[f]actual allegations must be enough to raise the right to relief above

the speculative level . . . .” Twombly, 550 U.S. at 555. “Where a complaint pleads facts that




15
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.5(c).
16
     See Declaration of Carson B. Lester, attached as Exhibit A; Lester email to Sharon Black, attached as Exhibit A-
     1.


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are ‘merely consistent with’ a defendant’s liability, it stops short of the line between

possibility and plausibility of entitlement to relief.” Iqbal, 556 U.S. at 678.

       A court deciding a motion to dismiss under Rule 12(b)(6) must “accept [] all well-

pleaded facts as true.” Smit v. SXSW Holdings, Inc., 903 F.3d 522, 527 (5th Cir. 2018).

However, courts will not presume the truth of any “legal conclusion couched as a factual

allegation.” Covington v. City of Madisonville, Texas, 812 F. App’x. 219, 224 (5th Cir.

2020) (citing Iqbal, 556 U.S. at 678). Nor will courts presume the truth of any allegation

that is contradicted by documents attached to or referenced in the complaint. See, Kamps

v. Baylor Univ., 592 F. App’x 282, 284 n. 1 (5th Cir. 2014). “‘[D]ocuments that a defendant

attaches to its motion to dismiss are considered part of the pleadings if they are referred to

in the plaintiff's complaint and are central to [its] claim.’” Collins v. Morgan Stanley Dean

Witter, 224 F.3d 496, 498–99 (5th Cir. 2000) (citation omitted). “When a plaintiff does not

attach a pertinent document to the complaint, a ‘defendant may introduce the exhibit as

part of his motion attacking the pleading.’” In re Enron Corp. Sec., Derivative & "ERISA"

Litig., 238 F. Supp. 3d 799, 815 (S.D. Tex. 2017), aff'd sub nom. Lampkin v. UBS Fin.

Services, Inc., 925 F.3d 727 (5th Cir. 2019) (internal citations omitted). “Where the

allegations in the complaint are contradicted by facts established by documents attached as

exhibits to the complaint, the court may properly disregard the allegations.” Id.

       Federal Rule of Civil Procedure 9(b) heightens the pleading standard when the

claim in question involves violations of the Texas Insurance Code grounded in fraud or


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misrepresentation or violations of the DTPA. See Frith v. Guardian Life Ins. Co. of Am., 9

F. Supp. 2d 734, 742 (S.D. Tex. 1998) (“Claims alleging violations of the Texas Insurance

Code and the DTPA and those asserting fraud, fraudulent inducement, fraudulent

concealment, and negligent misrepresentation are subject to the requirements

of Rule 9(b).”). “Some courts have been careful to distinguish between Texas Insurance

Code provisions which are ultimately grounded in fraud and those that are not. However,

courts applying Rule 9(b) to DTPA claims make no such fine-tuned distinctions, appear to

universally apply rule 9(b) regardless of the provision.” Tommaso v. State Farm Lloyds,

No. 7:15-CV-00274, 2016 WL 6883042, at *2 (S.D. Tex. Sept. 28, 2016). In fact, this

Court, in Garcia v. Deere & Co., No. 3:20-CV-0095, 2020 WL 4192894, at *3 (S.D. Tex.

July 21, 2020) (Brown J.), applied Rule 9(b)’s heightened pleading standard to plaintiff’s

DTPA claim against defendant and found plaintiff’s allegations failed to meet this standard

because they did not address the time, place, or contents of the false representations.

        Under Rule 9(b), a plaintiff must plead with “specificity as to the statements (or

omissions) considered to be fraudulent, the speaker, when and why the statements were

made, and an explanation of why they were fraudulent.” Plotkin v. IP Axess, Inc., 407 F.3d

690, 696 (5th Cir. 2005). The Fifth Circuit has determined that the particularity

requirement contained in Rule 9(b) requires, at a minimum, that a plaintiff set forth the

‘who, what, when, where, and how’ of the alleged misrepresentation or fraud. U.S. ex rel.

Doe v. Dow Chem. Co., 343 F.3d 325, 328 (5th Cir. 2003). Plaintiff’s First Amended


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Complaint falls far short of this standard.

A.       The Court should disregard Plaintiff’s allegation regarding Defendant Lester’s
         statement to “not mitigate damages.”

         The Court should disregard Plaintiff’s allegations that Defendant Lester instructed

Plaintiff not to mitigate damage at the Property. “Documents that a defendant attaches to

its motion to dismiss are considered part of the pleadings if they are referred to in the

plaintiff’s complaint and are central to its claim.” In re Enron Corp. Sec., 238 F. Supp. 3d

at 815. As stated above, “[w]here the allegations in the complaint are contradicted by facts

established by documents attached as exhibits to the complaint, the court may properly

disregard the allegations.” Id. Moreover, “[w]hen a plaintiff does not attach a pertinent

document to the complaint, a ‘defendant may introduce the exhibit as part of his motion

attacking the pleading.’” Id.

         Plaintiff has alleged that Defendant Lester instructed Plaintiff not to mitigate any

damages at the Property via written correspondence dated March 11, 2021.17 Plaintiff

references this alleged instruction by Defendant Lester throughout its First Amended

Complaint. Indeed, the allegation that Defendant Lester instructed Plaintiff not to mitigate

damages is central to Plaintiff’s theory of recovery under both the Texas Insurance Code

and the DTPA. Plaintiff specifically identifies the allegations contained in paragraphs 5.7,

5.12, and 5.17 as the “false, misleading, or deceptive acts or practices” in violation of the



17
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.7.


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DTPA and the “misrepresentations” constituting an “unfair or deceptive act or practice in

the business of insurance.”18 The allegations contained in paragraphs 5.7, 5.12, and 5.17

are as follows:


      After Plaintiff filed the claim, it retained a public adjuster to represent it on the
       claim. On March 11, 2021, AMERICAN EMPRIE, by written correspondence from
       Mr. Lester instructed Plaintiff not to mitigate the damages or to conduct any “demo
       that matches the “Remove” items in the [public adjuster’s] estimate.” AMERICAN
       EMPIRE by written correspondence from Mr. Lester, instead suggested another
       third-party mitigation company handled [sic] mitigation; a request Mr. LESTER nor
       AMERICAN EMPRIE ever followed up on.19
      Defendant AMERICAN EMPIRE misrepresented to Plaintiff that the damage to the
       Property was not covered under the Policy, even though the damage was caused by
       a covered peril. Specifically, AMERICAN EMPIRE, through Mr. LESTER,
       instructed Plaintiff not to mitigate its damages, then attempted to use a “failure to
       mitigate damages” as a defense for proper payment under the claim by Defendant.
       Plaintiff relied upon Defendants’ misrepresentations to their detriment and suffered
       damages, e.g., a negative coverage decision on this claim. Defendants’ conduct
       constitutes a violation of the Unfair Settlement Practices specified in Tex. Ins. Code
       § 541.060(a)(1), which prohibit [sic] misrepresenting to a claimant a material fact
       or policy provision relating to coverage at issue. Here, as stated above, Defendants’
       misrepresentation was that Plaintiff was not to conduct a required action under the
       policy, i.e. mitigate its damages, thereby avoiding coverage under the claim under
       a “failure to mitigate damages” defense.20
      Defendant AMERICAN EMPIRE misrepresented the insurance policy sold to
       Plaintiff (which relied [sic] Defendants’ misrepresentations to their detriment and
       suffered damages) by (1) making an untrue statement of material fact regarding
       coverage, specifically by instructing Plaintiff not to mitigate its damages, then
       attempted to use a “failure to mitigate damages” as a defense for proper payment
       under the claim by Defendant; (2) failing to state a material fact necessary to make
       other statements made not misleading, considering the circumstances under which
       the statements were made, specially [sic] that Plaintiff would need to mitigate its
18
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶¶ 6.4(a); 6.5(b).
19
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.7.
20
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.12.


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         damages under the policy for coverage but instead choosing to instruct Plaintiff not
         to do any tear-out or conduct mitigation of damages; (3) making a statement in a
         manner what would mislead a reasonably prudent person to a false conclusion of a
         material fact regarding coverage, specifically by instructing Plaintiff not to mitigate
         its damages, then attempting to use “failure to mitigate damages” as a defense for
         proper payment under the claim by Defendant; and/or (5) [sic] failing to disclose a
         matter required by law to be disclosed (see above regarding instructing Plaintiff not
         to conduct tear-out or mitigate damages) including failing to make a disclosure in
         accordance with another provision of the Texas Insurance Code, in violation of
         Section 541.061 of the same.21

     American Empire attaches the communication from Defendant Lester as Exhibit A-1.

Because Defendant Lester’s communication is specifically referenced by Plaintiff

(Plaintiff purports to quote from the communication) and the communication is central to

Plaintiff’s claims, the Court may properly consider Exhibit A-1 and disregard the

allegations contradicted by the facts it establishes. As evidenced by Exhibit A-1, Defendant

Lester did not instruct Plaintiff to not mitigate its damages. Rather, Defendant Lester stated

“[w]e suggest retaining a third party, disinterested mitigation company to proceed with the

drying of the structure. We will ask they provide normal drying documentation and

supports. We can provide several options if you need assistance in obtaining an available

vendor.”22 Defendant Lester’s email directly contradicts Plaintiff’s allegations that

Defendant Lester instructed Plaintiff to not mitigate damages. Accordingly, the Court

should disregard Plaintiff’s allegation that Defendant Lester instructed Plaintiff not to



21
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 5.17
22
     Exhibit A-1.


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mitigate its damages when evaluating American Empire’s request for dismissal of the

causes of action for violations of DTPA and Texas Insurance Code under Federal Rule of

Civil Procedure 12(b)(6).

B.     Plaintiff’s claims under the DTPA fail to meet the heightened pleading standard of
       Rule 9(b).

       To state a claim under the DTPA, the pleading must allege sufficient facts to

demonstrate the following: “(1) [plaintiff] is a consumer; (2) the defendant engaged in

false, misleading, or deceptive acts; and (3) these acts constituted a producing cause of

[plaintiff’s] damages.” Villarreal v. Wells Fargo Bank, N.A., 814 F.3d 763, 768 (5th Cir.

2016). Courts consistently require DTPA claims satisfy the heightened pleading standard

set out in Rule 9(b), including “the [1] time, [2] place, and [3] contents of the [alleged]

false representations, as well as the [4] identity of the person making the misrepresentation

and [5] what he obtained thereby.” Garcia, 2020 WL 4192894, at *3 (Brown J.) (citing

Benchmark Elec., Inc. v. J.M. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003). This is true

of all causes of action arising under the DTPA. See Id. (citing Tommaso, 2016 WL

6883042, at *2 (collecting cases)).

       Beyond boilerplate recitals of the elements of provisions of the DTPA, Plaintiff

relies almost exclusively on the allegation that Defendant Lester instructed Plaintiff not to

mitigate its damages to support its claims under the DTPA. In fact, Plaintiff specifically

identifies paragraphs 5.7, 5.12, and 5.17 as containing the “specific misrepresentations




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Defendant engaged in.”23 These paragraphs merely state, then restate, Plaintiff’s allegation

that Defendant Lester instructed it not to mitigate its damages.

         However, as previously discussed, [t]he Court should disregard Plaintiff’s

allegation regarding mitigation because it is contradicted by Defendant Lester’s actual

communication attached as Exhibit A-1. Without the benefit of this allegation, Plaintiff’s

First Amended Complaint amounts to little more than a boilerplate recital of various DTPA

provisions. Accordingly, Plaintiff’s allegations in support of its claims under the DTPA are

insufficient to satisfy the heightened pleading standard of Rule 9(b) as Plaintiff fails to

identify—either in whole or in part—the time, place, contents, the speaker, or what the

speaker gained thereby for any of its causes of action asserted under the DTPA. See Smiley

Team II, Inc. v. Gen. Star Ins. Co., No. 3:21-CV-00103, 2021 WL 5202412, at *3 (S.D.

Tex. Nov. 9, 2021), report and recommendation adopted, No. 3:21-CV-00103, 2021 WL

5987267 (S.D. Tex. Dec. 16, 2021) (“At its most basic level, Smiley Team fails to identify

any specific statement made by General Star that was false or misleading, much less

identify the alleged speaker or allege when and where the false statements were made.

These basic pleading inadequacies sound the death knell for the Texas Insurance Code

claims (and DTPA claims) predicated on misrepresentations”).




23
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.5(b).


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         Further, Plaintiff’s claims for violations of the DTPA fail even under the more

lenient pleading standard of Rule 8(a). Plaintiff’s causes of action brought under sections

17.46(b)(2), (3), and (13) of the DTPA are all explicitly premised on the false allegation

that Defendant Lester instructed Plaintiff not to mitigate its damages.24 Again, this

allegation should be disregarded as it is contradicted by Exhibit A-1. Without more, these

causes of action fail under Rule 8(a) because they wholly lack sufficient facts to support

them.

         Similarly, Plaintiff’s remaining causes of action under the DTPA also fail.

Plaintiff’s allegation that American Empire breached the insurance policy alone is

inadequate to sustain a DTPA claim. Christians v. Flores, No. 01-20-00307-CV, 2022 WL

619021, at *9 (Tex. App.—Houston [1st Dist.] Mar. 3, 2022, no pet.) (citing Crawford v.

Ace Sign, Inc., 917 S.W.2d 12, 14 (Tex. 1996) (internal citation omitted)) (“[a]n allegation

of a mere breach of contract, without more, does not constitute a ‘false, misleading or

deceptive act’ in violation of the DTPA.”). Further, the allegation that American Empire

or Defendant Lester undervalued or underscoped damages is also insufficient on its own.

See, Tommaso, WL 6883042 at *2 (finding allegations that damages to the property were

undervalued is insufficient to sustain DTPA claims without specific facts about the

misrepresentations). Plaintiff also alleges, without any factual support, that American




24
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶¶ 6.5(b)(i) and (v).


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Empire violated the DTPA “knowingly and/or intentionally.” This allegation is an

unsupported legal conclusion as Plaintiff has alleged no facts demonstrating American

Empire’s knowledge or intent.

       In sum, without the factually incorrect allegation about mitigation, Plaintiff’s causes

of action under the DTPA amount to little more than recitations of language from the DTPA

with conclusory statements of alleged statutory violations. This is insufficient to satisfy

Rule 8(a)’s pleading standard. Smiley Team II, Inc., 2021 WL 5202412, at *3. (“It is

insufficient to simply parrot language from the DTPA . . . and conclusory state that there

is a statutory violation. ); Shiana Corp. v. Depositors Ins. Co., No. EP-18-CV-188-DB,

2019 WL 96586, at *4–5 (W.D. Tex. Jan. 2, 2019) (assertions that merely repeat “the

[DTPA] statutory language” are insufficient to “survive a Rule 12(b)(6) motion to dismiss

for failure to state a claim because the facts pleaded do not allow the Court to infer that the

claims against [the defendant] are plausible”). Accordingly, Plaintiff’s DTPA claims

should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6) for not satisfying

the heightened pleading standard of Rule 9(b) or Rule 8(a)’s pleading standard.

C.     Plaintiff’s claims under the Texas Insurance Code relating to purported
       misrepresentations by American Empire fail to meet the heightened pleading
       standard of Rule 9(b).

       Plaintiff has not adequately pleaded its causes of action arising from purported

misrepresentations in violation of Sections 541.060(a)(1) and 541.061 of the Texas

Insurance Code. As these claims involve “misrepresentations and are substantively claims


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of fraud,” Plaintiff “must meet the pleading standard of Rule 9(b).” Khan v. Allstate Fire

& Cas. Ins. Co., No. CIV.A. H-11-2693, 2012 WL 1601302, at *7 (S.D. Tex. May 7, 2012).

Indeed, “courts consistently require Texas Insurance Code Claims predicated on

misrepresentation to satisfy the heightened pleading standard set out in Rule 9(b) of the

Federal Rules of Civil Procedure.” 9520 Homestead, LLC v. Westchester Surplus Lines Ins.

Co., No. 4:19-CV-2713, 2019 WL 5784893, at *2 (S.D. Tex. Nov. 6, 2019) (citing SHS

Inv. v. Nationwide Mut. Ins. Co., 798 F.Supp.2d 811, 814 (S.D. Tex. 2011); Partain v. Mid-

Continent Specialty Ins. Servs., Inc., 838 F.Supp.2d 547, 557 (S.D. Tex. 2012).

         Rule 9(b) imposes a heightened pleading standard, which requires allegations of

“time, place, and contents of the [alleged] false representations, as well as the identity of

the person making the misrepresentation and what [that person] obtained thereby.” 9520

Homestead, LLC, 2019 WL 5784893, at *2. Plaintiff’s First Amended Complaint does not

satisfy the pleading standard of Rule 9(b). Plaintiff has alleged that American Empire has

violated Chapter 541 of the Texas Insurance Code by:

      Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the
       coverage at issue, specifically by instructing Plaintiff not to conduct “tear-out” to
       mitigate its damages (as required for coverage under the policy), then attempting to
       use a “failure to mitigate damages” as a defense for proper payment under the claim
       by Defendant:25
      Misrepresenting the insurance policy sold to Plaintiff by (1) making an untrue
       statement of material fact regarding coverage, specifically by instructing Plaintiff
       not to mitigate its damages, then attempted [sic] to use a “failure to mitigate
       damages” as a defense for proper payment under the claim by Defendant; (2) failing

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     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.4(b)(i).


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         to state a material fact necessary to make other statements made not misleading,
         considering the circumstances under which the statements were made, specially
         [sic] that Plaintiff would need to mitigate its damages under the policy for coverage
         but instead choosing to instruct Plaintiff not to do any tear-out or conduct mitigation
         of damages; (3) making a statement in a manner that would mislead a reasonably
         prudent person to a false conclusion of a material fact regarding coverage,
         specifically by instructing plaintiff not to mitigate its damages then attempting to
         use a “failure to mitigate damages” as a defense for proper payment under the claim
         by Defendant; and/or (5) [sic] failing to disclose a matter required by law to be
         disclosed (see above regarding instructing Plaintiff not to conduct tear-out or
         mitigate damages) including failing to make a disclosure in accordance with another
         provision of the Texas Insurance Code, in violation of Sections 541.061 of the same.
         Plaintiff relied [sic] Defendants’ misrepresentations to their determent and suffered
         damage, e.g., a negative coverage decision on this claim;26

Plaintiff has also specifically identified paragraphs 5.7, 5.12, and 5.17, which detail

Plaintiff’s false allegation regarding mitigation, as containing “[t]he specific

misrepresentations Defendant engages in and how those misrepresentations were in

violation of the specific code sections.”27

         Plaintiff’s causes of action for violations of Sections 541.060(a)(1) and 541.061 of

the Texas Insurance Code, like its allegations under the DTPA, are all premised on the

allegation that Defendant Lester instructed Plaintiff to not mitigate its damages. However,

as repeatedly explained in this motion, because this allegation is contradicted by facts

established in Exhibit A-1, this allegation should be disregarded. Accordingly, without




26
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶ 6.4(b)(v).
27
     Plaintiff’s First Amended Complaint [Dkt. 8] at ¶6.4(a).


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additional allegations of the time, place, contents, the speaker, or what the speaker gained

thereby Plaintiff has failed to satisfy Rule 9(b)’s heightened pleading standard.

       Plaintiff’s claims also fail under Rule 8(a)’s pleading standard. As Plaintiff’s

allegation that Defendant Lester instructed Plaintiff not to mitigate must be disregarded,

Plaintiff’s First Amended Complaint is devoid of additional factual allegations to satisfy

Rule 8(a)’s pleading standard. Further, even if Plaintiff’s allegations that Defendant Lester

instructed Plaintiff not to mitigate were not disregarded, this purported fact would still be

insufficient to allege a misrepresentation in violation of the Tex. Ins. Code Section 541.060

because the alleged misrepresentation occurred post-loss. See Schnell v. State Farm, No.

4:21-CV-00558-O, 2022 WL 2542478, at *7 (N.D. Tex. June 6, 2022) (“Plaintiffs'

allegations, even if they were described with specificity, describe post-loss representations,

which are not actionable under the statute.”).

       As with its claims under the DTPA, Plaintiff has alleged that American Empire

acted “knowingly and intentionally.” Again, this allegation is an unsupported legal

conclusion as Plaintiff has failed to allege any facts to support such an allegation.

Accordingly, because Plaintiff has failed to state a claim for violations of Sections

541.060(a)(1) and 541.061 of the Texas Insurance Code, they should also be dismissed

pursuant to Federal Rule of Civil Procedure 12(b)(6).




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D.       The Court should dismiss all causes of action against Defendant Lester because
         American Empire has accepted liability under Tex. Ins. Code § 542A.006(a).

         The Texas Insurance Code allows an insurer to accept whatever civil liability an

agent might have to a claimant for the agent's acts or omissions related to a claim by

providing written notice to the claimant. Tex. Ins. Code § 542A.006(a). If the insurer elects

to accept responsibility for the agent, a court must dismiss all claims against the agent with

prejudice. Id. § 542A.006(c). American Empire elected to accept liability for its agents,

specifically Defendant Lester, prior to the instant suit being filed.28 Accordingly, the Court

must dismiss all claims against Defendant Lester.


                                    IV. CONCLUSION

         Because Plaintiff has not pleaded its alleged causes of action for violations under

Sections 541.060 and 541.061 of the Texas Insurance Code, or violations of the DTPA

with sufficient specificity, this Court should dismiss these causes of action with prejudice

pursuant to Federal Rule of Civil Procedure 12(b)(6). Further, the Court should dismiss all

claims against Defendant Lester with prejudice pursuant to Tex. Ins. Code Section

542A.006(a).




28
     Exhibit B-1 at p. 7.


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                                         Respectfully submitted,


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                                 Certificate of Conference

Pursuant to Galveston Local Rule 6, counsel for American Empire conferred with counsel
for Plaintiff and sent a letter informing Plaintiff’s counsel of Plaintiff’s right to amend its
pleading. Plaintiff’s First Amended Complaint was filed thereafter on July 1, 2022.



                                   Certificate of Service

       A true and correct copy of the foregoing has been served on the following counsel
of record in accordance with the Federal Rules of Civil Procedure on this 22nd Day of July
2022:

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                                           /s/ Michael C. Upshaw
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